Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 1 of 27 PagelID 1

AO 91 (Rev. 11/11) Criminal Complaint

 

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

 

 

 

United States of America )
v. )
) Case No.
CARL STUART FAREY 6:20-mj- \ O02
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of June 15, 2017 in the county of Osceola in the
Middle District of Florida , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. §§ 1546 and 2 Aiding and abetting fraud and misuse of visas, permits, and other documents

This criminal complaint is based on these facts:

See attached Affidavit.

¥ Continued on the attached sheet.

Lu?

Goyfplainant 's signature

Curtis Johnson, Special Agent

 

Printed name and title
Sworn to before me and signed in my presence.

Date: (- ("#-20QD aL = -

al '
Judge's signature

City and state: Orlando, Florida Thomas B. Smith, U.S. Magistrate Judge

 

Printed name and title
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 2 of 27 PagelD 2

STATE OF FLORIDA
Case No. 6:20-mj- |OV2-
ORANGE COUNTY

AFFIDAVIT IN SUPPORT OF THE
ISSUANCE OF A CRIMINAL COMPLAINT

 

I, Curtis Johnson, being duly sworn, attest and affirm the following:
INTRODUCTION AND AGENT BACKGROUND

1. This affidavit supports an application for an arrest warrant
against CARL STUART FAREY (FAREY) for violations of 18 U.S.C. §§
1546 and 2.

2. The facts in this affidavit come from my personal observations,
my training and experience, and information obtained from other agents and
witnesses. This affidavit is intended to show merely that there is sufficient
probable cause for the requested warrant and does not set forth all of my
knowledge about this matter.

3. I have been a Special Agent with Immigration and Customs
Enforcement's, Homeland Security Investigations (HSI) since 2003. Prior to
2003, I was employed by the United States Department of Justice,
Immigration and Naturalization Service (INS), as an United States Border
Patrol Agent beginning in 1992, then as an Immigration Inspector in 1994,
and finally as an INS Special Agent in 1996. I was transferred to the United

States Department of Homeland Security in 2003. Iam assigned to HSI
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 3 of 27 PagelD 3

Orlando’s Document and Benefit Fraud Task Force (DBFTF). The DBFTF
detects, deters, and dismantles organizations that facilitate document and
benefit fraud. Document fraud is the manufacturing, counterfeiting,
alteration, sale, or use of fraudulent documents to circumvent immigration
laws or for other criminal activity. Benefit fraud is the knowing and willful
misrepresentation of a material fact on a petition or application to gain an
immigration benefit. I have been involved in investigations involving
administrative and criminal violations of immigration fraud, including
violations of 18 U.S.C. § 1546 (fraud and misuse of visas, permits and other
documents). I have participated in the execution of search warrants involving
searches and seizures of documents, computers, computer equipment, and
electronically stored information.

4. I submit that based on my training and experience and the facts,
as set forth herein, there is probable cause to believe that from approximately
2010 through August of 2019, FAREY committed violations of 18 U.S.C.

§§ 1546 and 2 (aiding and abetting fraud and misuse of visas, permits and
other documents).

OVERVIEW OF THE E-2 TREATY INVESTOR VISA

5. Under U.S. laws and regulations, individuals who are not US.

citizens, legally referred to as “aliens” in 8 U.S.C. § 101(a)(3), are not
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 4 of 27 PagelD 4

permitted to lawfully work in the U.S. unless they have been granted
permission by the U.S. government. Certain aliens can obtain a
nonimmigrant visa (NIV) from the United States Department of State (DOS)
to apply for admission into the U.S. or, if already in the U.S., may request to
extend or change their lawful nonimmigrant status with the United States
Citizenship and Immigration Services (USCIS). A visa is a document issued
by a consular representative of the U.S. that permits the bearer to apply for
admission to enter the U.S., either as an intending immigrant (i.e. an
immigrant visa, or “green card”) or for temporary entry into the U.S. asa
nonimmigrant by way of an NIV. The United States issues NIVs in various
classifications, including the E-2 treaty investor visa (hereinafter “E-2”).

6. A lawful nonimmigrant alien present in the U.S. may file USCIS
Form I-129 (Petition for a Nonimmigrant Worker) to request a change of
status from their original status to E-2 nonimmigrant status. Individuals
outside the United States must apply with DOS to receive E-2 status.
Approved E-2 applications permit the visa holders’ entry into the U.S.

7. A petitioner may file an employment-based petition on behalf of
an alien to come to or remain in the United States temporarily to perform

services or labor, or to receive training. An E-2 is such a visa classification.
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 5 of 27 PagelD 5

8. The E-2 nonimmigrant visa classification allows a national of a
treaty country! to be admitted to or remain in the U.S. when investing a
substantial amount of capital in a U.S. business. The E-2 visa holder can
confer legal status to some of their employees, allowing for their legal entry
into the United States.

9. An alien seeking E-2 status must meet the following
requirements; 1) be a national of a country with which the United States
maintains a treaty of commerce and navigation, 2) have invested, or be
actively in the process of investing, a substantial amount of capital in a bona
fide enterprise in the United States, and 3) be seeking to enter the U.S. solely
to develop and direct the investment enterprise. Applicants establish this by
exhibiting at least 50% ownership of the enterprise or possession of
operational control through a managerial position or other corporate device.

10. An investment is the treaty investor’s placing of capital, including
funds and/or other assets, at commercial risk with the objective of generating
a profit. The capital must be subject to partial or total loss if the investment
fails. The treaty investor must show that the funds have not been obtained,

directly or indirectly, from criminal activity. See 8 CFR 214.2(e)(12).

 

1 A treaty country is a country with which the United States maintains a treaty of commerce and
navigation. The DOS lists approximately 83 recognized treaty countries, including the United
Kingdom.
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 6 of 27 PagelD 6

11. A substantial amount of capital includes an amount 1) substantial
in relationship to the total cost of either purchasing an established enterprise or
establishing a new one, 2) sufficient to ensure the treaty investor’s financial
commitment to the successful operation of the enterprise, and 3) of a
magnitude to support the likelihood that the treaty investor will successfully
develop and direct the enterprise. The lower the cost of the enterprise, the
higher, proportionately, the investment must be to be considered substantial.

12. A bona fide company refers to a real, active, and operating
commercial or entrepreneurial undertaking which produces services or goods
for profit. Any derivative alien employees must be the same nationality of the
principal alien employer E-2 visa holder (who must have the nationality of the
treaty country) and either be engaging in duties of an executive or supervisory
character, or if employed in a lesser capacity, have special qualifications.

13. If the principal alien employer is not an individual, it must be a
company that is at least 50% owned by treaty country nationals present in the
United States. These owners must be maintaining E-2 nonimmigrant treaty
investor status. If the owners are not in the United States, they must be, if
they were to seek admission to this country, classifiable as nonimmigrant

treaty investors. See 8 CFR 214.2(e)(3)Qi).
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 7 of 27 PagelD 7

14. The E-2 must function in a supervisory or executive role. The
individual must have ultimate control and responsibility for the organization’s
overall operation. See 8 CFR 214.2(e)(17).

15. The E-2 petition must be filed with evidence of ownership,
substantial investment, and the nationality of the applicant. Evidence of
substantial investment may include stock certificates, articles of incorporation,
lease agreements, business equipment, business licenses, annual reports, profit
and loss statements, organization charts, bank account records, employee
records, IRS W-2 tax forms, educational transcripts and diplomas, and letters
from employers describing job titles, duties, operator’s manuals, and the
required level of education and knowledge.

16. Qualified E-2 visa recipients are allowed a maximum initial stay
of two years. Requests for extension may be granted in increments of up to
two years each. There is no maximum limit to the number of extensions an E-
2 nonimmigrant can receive. All E-2 nonimmigrants, however, must maintain
an intention to depart the United States when their status expires or is
terminated.

17. A petitioner may seek to obtain U.S. permanent resident status,
commonly known as a green card, for the E-2 beneficiary by filing a USCIS

Form I-140, Petition for Alien Worker. If approved, the E-2 would then be
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 8 of 27 PagelD 8

able to obtain U.S. Citizenship after meeting the requirements for

naturalization.

OVERVIEW OF THE L-1A INTRACOMPANY TRANSFEREE

 

18. A petitioner may file an employment-based petition on behalf of
an alien to come to or remain in the United States temporarily to perform
services or labor, or to receive training. This is an L-1A Intracompany
Transferee visa classification.

19. The L-1A classification is for aliens coming to the United States
temporarily to perform services in a managerial or executive capacity for the
same employer (or for the parent, branch, subsidiary, or affiliate of the
employer) that employed the alien abroad in a capacity that was managerial or
executive in nature, or one that required specialized knowledge.

20. The L-1A nonimmigrant classification enables a U.S. employer
to transfer an executive or manager from one of its affiliated foreign offices to
one of its offices in the United States. This classification also enables a foreign
company which does not yet have an affiliated U.S. office to send an executive
or manager to the United States with the purpose of establishing one.

21. To qualify for L-1A classification in this category, the employer
must 1) have a qualifying relationship with a foreign company (parent

company, branch, subsidiary, or affiliate, collectively referred to as qualifying
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 9 of 27 PagelD 9

organizations) and 2) be doing business as an employer in the United States
and in at least one other country directly or through a qualifying organization
for the duration of the beneficiary’s stay in the United States as an L-1A.
While the business must be viable, there is no requirement that it be engaged
in international trade.

22. Doing business means the regular, systematic, and continuous
provision of goods or services by a qualifying organization. This does not
include the mere presence of an agent or office of the qualifying organization
in the United States and abroad. To qualify, the named employee must also 1)
have been working for a qualifying organization abroad for one continuous
year within the three years immediately preceding his or her admission to the
United States, and 2) be seeking to enter the United States to provide service
in an executive? or managerial capacity’ for a branch of the same employer or
one of its qualifying organizations.

23. For foreign employers seeking to send an employee to the United

States as an executive or manager to establish a new office, the employer must

 

2 Executive capacity generally refers to the employee's ability to make decisions of wide latitude with
limited oversight.

3 Managerial capacity generally refers to the ability of the employee to supervise and control the work
of professional employees and to manage the organization, or a department, subdivision, function, or
component of the organization. It may also refer to the employee’s ability to manage an essential
function of the organization at a high level, without direct supervision of others. See section
101(a)(44) of the Immigration and Nationality Act, as amended, and 8 CFR 214.2()(1)Gi) for
complete definitions.
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 10 of 27 PagelD 10

also show that 1) the employer has secured sufficient physical premises to
house the new office, 2) the employee has been employed as an executive or
manager for one continuous year in the three years preceding the filing of the
petition, and 3) the intended U.S. office will support an executive or
managerial position within one year of the approval of the petition.

24. Qualified employees entering the United States to establish a new
office are allowed a maximum initial stay of one year. All other qualified
employees are allowed a maximum initial stay of three years. For all L-1A
employees, requests for extensions of stay may be granted in increments of up
to an additional two years, until the employee has reached the maximum limit
of seven years.

25. The L-1A petition may be filed by the United States or foreign
employer and must be filed with:

a. Evidence establishing the existence of the qualifying
relationship between the U.S. and foreign employer based on
ownership and control, such as: an annual report, articles of
incorporation, financial statements, or copies of stock certificates.
Whether such evidence will be sufficient to meet the petitioner’s
burden of establishing such a qualifying relationship depends on

the quality and probative value of the evidence submitted.
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 11 of 27 PagelD 11

26.

b. Evidence of the beneficiary’s employment for the required
one year abroad in, as applicable, a managerial, executive, or
specialized knowledge capacity. Such evidence may include, but
is not limited to, a letter from the beneficiary’s foreign qualifying
employer detailing his or her dates of employment, job duties,
and qualifications, along with supporting documentary evidence;
and

Cc. A description of the proposed job duties and qualifications,
and evidence showing that the proposed employment is in an
executive, managerial, or specialized knowledge capacity.

Additionally, if the L-1A beneficiary is coming to the United

States to open or to be employed in a new office in the United States, the

petitioner must submit evidence to show the following:

a. Sufficient physical premises to house the new office have
been secured;

b. The beneficiary has been employed for one continuous
year in the three-year period preceding the filing of the petition in
an executive or managerial capacity and that the proposed
employment involves executive or managerial authority over the

new operation; and

10
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 12 of 27 PagelD 12

27.

Cc. The intended U.S. operation, within one year of approval,
will support an executive or managerial position. This statement
should be supported by information regarding the proposed
nature of the office describing the scope of the entity, its
organizational structure, and its financial goals;

d. The size of the United States investment and the foreign
entity’s financial ability to remunerate the beneficiary and to
commence doing business in the United States; and

e. The organizational structure of the foreign entity.

A petitioner may seek to obtain U.S. permanent residence status

for the L-1A by filing a USCIS Form I-140, Petition for Alien Worker. If

approved, the L-1A would then be able to obtain U.S. Citizenship after

meeting the requirements for naturalization.

28.

29.

DEFINITIONS
An alien is a person who is not a United States Citizen.

A beneficiary, for the purposes of this affidavit, means an alien

named on a U.S. Department of Homeland Security (DHS) or U.S.

Department of State (DOS) petition or application seeking a visa or other

immigration benefit.

11
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 13 of 27 PagelD 13

30. A petitioner, for the purposes of this affidavit, means a person
filing a DHS form seeking a benefit for an alien.

31. A USCIS Form I-129, Petition for a Nonimmigrant Worker,
(hereinafter E-2 petition or L-1A petition) is a form used by petitioners to file
on behalf of a nonimmigrant worker to remain in or come to the United States
temporarily to perform services or labor, or to receive training.

32. A USCIS Form 1-140, Immigrant Petition for Alien Worker,
(hereinafter immigrant petition) is a form to petition for an alien worker to
become a legal permanent resident in the United States.

PROBABLE CAUSE (BACKGROUND)

33. In May 2013, the Orlando DBFTF received information
regarding a referral from the USCIS, Fraud Detection and National Security
(FDNS), Center Fraud Detection Operations (CFDO), Vermont Service
Center, regarding suspected immigration benefit fraud. The information
reported that CARL FAREY, DOB: XX/XX/1965, and his company Decar
Enterprises USA, Inc., were suspected of preparing fraudulent L-1A visa
petitions. FAREY was suspected of including fraudulent supporting
documents with the petitions. USCIS identified FAREY as the president of
Decar Enterprises USA, Inc. with a mailing address of xxxx Big Valley

Boulevard, Kissimmee, Florida 34746 (PREMISES).

12
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 14 of 27 PagelD 14

34. On October 15, 2013, members of the Orlando DBFTF
interviewed FAREY’s wife, Deirdre Farey. Per her statements, at the time of
the interview, Deirdre Farey was separated from FAREY and seeking a
divorce. Deirdre Farey stated that she used to make coffee and tea for clients
at the couple’s Kissimmee residence, and that FAREY does not have a
background in immigration or visa law. Deirdre Farey stated that her
husband told clients that he knew a loophole in the E-2 visa rules and that he
could exploit that loophole to obtain green cards. Deirdre Farey further stated
that FAREY would prepare the documents for his clients and submit them
through the internet.

35. On May 22, 2019, a Florida Department of State, Division of
Corporations record search revealed that Decar Enterprises USA Inc. listed
FAREY as president and Deirdre Farey as vice president, with the
PREMISES listed as the mailing address. Decar Enterprises USA Inc. was an
active company from 2003 through 2014.

36. On May 24, 2019, a Florida Department of State, Division of
Corporations record search also revealed that FAREY is the president of
Business Connexions Inc (FEIN: XX-XXXXXXX), with an active date of 2017 to

the present. The principal address for the company is in Davenport, Florida,

13
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 15 of 27 PagelD 15

with a mailing address matching the PREMISES address. Additionally,

FAREY is listed as the registered agent for the company.

37. Between 2013 and 2019, the Orlando DBFTF reviewed

employment petitions for companies associated with FAREY. The following

employment petitions are pertinent to this affidavit:

a.

Petition Number SRC1290296423 (hereinafter
FRAUDULENT PETITION 1) was received at USCIS on
June 7, 2012 with the correlating Immigrant petition for
D.K., an E-2 nonimmigrant citizen of the United
Kingdom, as a multinational executive or manager for his
company K. Holdings Inc. The petitioner for the
Immigrant petition is listed as R.B. The Florida
Department of State, Division of Corporations reports K.
Holdings Inc. (Federal Employer Identification Number
(FEIN) 20-2454XXX) as being active from 2005 through
2018.

Petition Number SRC1290303058 (hereinafter
FRAUDULENT PETITION 2) was received at USCIS on
June 14, 2012 with the correlating Immigrant petition for

S.M., an E-2 nonimmigrant citizen of the United

14
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 16 of 27 PagelD 16

Kingdom, as a multinational executive or manager for his
company H. Associates Inc. The petitioner for the
Immigration petition is listed as R.B. The Florida
Department of State, Division of Corporations reports H.
Associates Inc. (FEIN 42-1685XXX) as being active from
2005 through 2017.

c. Petition Number WAC1802350963 (hereinafter
FRAUDULENT PETITION 3) was received at USCIS on
November 1, 2017 with the correlating E-2 petition for
B.M., a citizen of the United Kingdom, for his company
B.P.S. LLC. B.M. is also listed as the petitioner on the E-2
petition. The Florida Department of State, Division of
Corporations lists B.P.S. LLC (FEIN 82-3075XXX) as
being active from 2017 to the present. FAREY is listed as
the Registered Agent for the company.

d. Petition Number EAC1603951816 (hereinafter
FRAUDULENT PETITION 4) was received at USCIS on
November 27, 2015 with the correlating L-1A petition for
G.M., a citizen of the United Kingdom, owner of A.M.M.

Inc. R.B. is listed as the petitioner on the L-1A petition.

15
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 17 of 27 PagelD 17

The Florida Department of State, Division of
Corporations lists A.M.M. Inc. (FEIN 27-4826XXX) as
being active from 2010 to the present.

e. Petition Number EAC1718552390 (hereinafter
FRAUDULENT PETITION 5) was received at USCIS on
June 15, 2017 with the correlating L-1A petition for C.G.,
a citizen of the United Kingdom, owner of J.G.P.S. LLC.
T.G. is listed as the petitioner on the L-1A petition. The
Florida Department of State, Division of Corporations lists
J.G.P.S. LLC (FEIN 37-178XXXX) as being active from
2015 to the present.

f. Petition Number $SRC1690185560 (hereinafter
FRAUDULENT PETITION 6) was received at USCIS on
March 21, 2016 with the correlating Immigrant petition for
P.B., an E-2 nonimmigrant citizen of the United
Kingdom, executive or manager of his company B.S.E.
LLC. The petitioner for the Immigrant petition is E.P.
The Florida Department of State, Division of
Corporations reports B.S.E. LLC (FEIN) 94-347XXXX)

as being active from 2009 to the present.

16
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 18 of 27 PagelD 18

38. After reviewing FRAUDULENT PETITIONS 1, 2, 4, 5, and 6,4
myself and other investigators observed patterns between the various petitions.
The petitions were created using the same preparation, formatting, and
supporting documents, including fraudulent IRS Form W-2s, corporate
organizational charts, corporate letterheads, and corporate profit and loss
statements.

INVESTIGATION OF FRAUDULENT PETITION 1

 

39. On February 27, 2014, members of the DBFTF interviewed J.K.,
who stated that she and her husband were former clients of FAREY. J.K.
stated she met FAREY through friends from the British community in Central
Florida. J.K. told investigators that FAREY claimed to know a loophole in
U.S. immigration law and would be able to obtain a green card for her. J.K.
stated that she visited FAREY and his wife, Deirdre, several times to drop off
paperwork to FAREY at his residence on Big Valley Drive in Kissimmee,
Florida. J.K. paid FAREY approximately $8,000 to prepare her immigration
petition and provided a check to FAREY which was payable to USCIS.

40. The DBFTF located FRAUDULENT PETITION 1 for D.K.,

his wife J.K., and their company, K. Holdings Inc. The petitioner for their

 

4 FRAUDULENT PETITION 3 was presented differently from the other five petitions, which
consistently contained similar documents.

17
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 19 of 27 PagelD 19

immigrant petition was R.B., alleged manager at K. Holdings Inc. An IRS
Form W-2 provided with the petition contained R.B.’s name and true social
security number.

41. On November 19, 2018, DBFTF investigators interviewed R.B.
Investigators positively identified him using his social security number.
DBFTF investigators again interviewed R.B. on May 24, 2019. R.B. denied
ever being the manager of any company, or petitioning for anyone in
FRAUDULENT PETITION 1. R.B. stated that he has never been a
petitioner for any immigration application. Furthermore, R.B. never gave
anyone permission to use his name and social security number in
FRAUDULENT PETITIONS 1, or any other immigration employment
petition.

INVESTIGATION OF FRAUDULENT PETITION 2

 

42. On December 13, 2018, members of the DBFTF interviewed
S.M., owner of H. Associates Inc. S.M. was the beneficiary in
FRAUDULENT PETITION 2. S.M. stated that he was referred to FAREY
in about 2007. S.M. provided FAREY with supporting documents which
included articles of incorporation, bank statements, invoices, and S.M.’s |
signature on a blank piece of paper. Regarding S.M.’s immigration petition,

FAREY said, “leave it with me and I will take care of it for you.” S.M. paid

18
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 20 of 27 PagelD 20

FAREY $2,000-$3,000 dollars to renew S.M.’s E-2 petition, the original of
which was not prepared by FAREY.

43. In both the 2018 and 2019 interviews of R.B., R.B. further stated
that the signatures purported to be his signatures in FRAUDULENT
PETITION 2 were forgeries. R.B. insisted that he had never heard of the
companies H. Associates Inc. R.B. stated that he was never the manager of
either company, nor did he give anyone permission to use his name and social
security number in FRAUDULENT PETITION 2.

INVESTIGATION OF FRAUDULENT PETITION 3

 

44. On April 22, 2019, members of the DBFTF interviewed B.M.,
owner of B.P.S. LLC and beneficiary in FRAUDULENT PETITION 3.
B.M. stated that he was referred to FAREY in about 2017. B.M. said that
R.H. told him about the E-2 visa. R.H.’s father, K.H., put B.M. in contact
with FAREY, who helped B.M. obtain a B-2 nonimmigrant visitor’s visa in
exchange for $4,000 dollars.

45. B.M. reviewed FRAUDULENT PETITION 3 and stated that he
did not recall seeing or completing the E-2 petition. FAREY was the only
person that assisted him with his E-2 petition. B.M. stated that he went to
FAREY’s office which was located at FAREY’s house. B.M. reviewed the

petition and supporting documentation in FRAUDULENT PETITION 3 and.

19
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 21 of 27 PagelID 21

stated the petition had inaccurate information relating to his wages, net worth,
investments, and bank statements. B.M. viewed a letter, addressed from B.M.
to USCIS, dated October 24, 2017. B.M. stated that he did not write the
letter, but that he did sign it. B.M. said that FAREY was the only person that
prepared his E-2 petition. B.M. also stated that R.H. and K.H. previously
used FAREY’s visa services.

INVESTIGATION OF FRAUDULENT PETITION 4

 

46. On May 1, 2019, members of the DBFTF interviewed G.M.,
who is the owner of A.M.M. Inc. and beneficiary in FRAUDULENT
PETITION 4. G.M.’s wife, D.M., was also present. G.M. was referred to
FAREY around 2008. FAREY said they would be able to get an L-1A visa,
file a two-year extension, and then file for a green card. G.M. paid FAREY
approximately $2,000 at the time of filing, with an additional $2,500 payment
after the process was completed. FAREY told G.M. that he knew how to fill
in the immigration forms. After reviewing the E-2 petition, G.M. and his
wife, D.M., stated that they did not know R.B., the listed manager and
petitioner on FRAUDULENT PETITION 4. Furthermore, G.M. told the
investigators that supporting documentation contained in the petition,

including gross income, net income, corporate organizational charts,

20
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 22 of 27 PagelD 22

academic records, profit and loss statements, IRS Form W-2s, and 2015
Quarterly Federal Tax report, were fraudulent.

47. The evidence suggests that FAREY kept copies of
FRAUDULENT PETITION 4’s supporting documentation from G.M.’s first
L-1A petition. G.M. told investigators that he did not give FAREY additional
supporting documentation for the L-1A petition extension. After FAREY
prepared the L-1A petition extension, FAREY requested that G.M. pick up
and mail the L-1A petition to USCIS.

48. D.M. stated that FAREY sold them a nightmare and that
FAREY makes money off other people’s money.

49, In his November 2018 and May 2019 interviews, R.B. stated that
the signatures purported to be his signatures in FRAUDULENT PETITION 4
were forgeries. R.B. stated that he never heard of the company A.M.M. Inc.
R.B. stated that he was never the manager of the company nor gave anyone
permission to use his name and social security number in FRAUDULENT
PETITION 4. No one associated with any of the petitions had any familiarity
with R.B.

INVESTIGATION OF FRAUDULENT PETITION 5

50. On May 2, 2019, members of the DBFTF interviewed C.G.,

owner of J.G.P.S. LLC and beneficiary in FRAUDULENT PETITION 5.

21
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 23 of 27 PagelD 23

C.G. stated she was concerned that her E-2 status may not be extended and
would be denied. C.G. obtained her E-2 status before meeting FAREY. C.G.
stated that she then received help from FAREY to file an L-1A petition.
FAREY said that he could complete the forms for the L-1A petition. C.G.
offered to pay and did pay FAREY $1,000 for helping her prepare the L-1A
petition and $1,000 for the Immigrant petition.

51. After reviewing the documents in FRAUDULENT PETITION
5, C.G. stated that the gross annual income earned and net income earned
were incorrect. C.G. also stated that she did not know or provide the name
T.G., who was listed as the petitioner and general manager of the business.
Furthermore, C.G. stated the overseas business associated with her L-1A
petition was unknown to her and the corresponding corporate organizational
charts, IRS Form W2s, Federal Quarterly Tax reports, photographs of the
business, property lease agreements, and profit and loss sheets were fake and
that she had not provided them to FAREY. C.G. stated that it was scary that
someone could submit such false documents with her signature on them.

INVESTIGATION OF FRAUDULENT PETITION 6

 

52. On May 8, 2019, members of the DBFTF interviewed B.F., who
is listed as an employee in FRAUDULENT PETITION 6. B.F. stated that he

never worked for B.S.E. LLC and the last time that he had a job was in about

22
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 24 of 27 PagelD 24

2012. B.F. did not know owners P.B., S.B., nor the petitioner E.P. The
information in FRAUDULENT PETITION 6 that B.F. was a cleaner for the
company was not true. B.F. confirmed that his name and social security
number as listed in the IRS Form W-2, attached to the petition, were correct.
B.F. never authorized anyone associated with FRAUDULENT PETITION 6
to use his name and social security number.

53. On May 8, 2019, members of the DBFTF interviewed A.M.,
who is listed as an employee in FRAUDULENT PETITION 6. A.M. stated
he never worked for nor had he heard of B.S.E. LLC. A.M. did not know
owners P.B. or S.B. A.M. reviewed the corporate organizational chart with
his name shown as a landscaper and stated that was not true. A.M. reviewed
the IRS Form W-2 with his name and social security number attached to
FRAUDULENT PETITION 6 and confirmed that the listed information was
correct. However, he never worked for B.S.E. LLC and never authorized
anyone to use his name and social security number.

54. On May 9, 2019, members of the DBFTF interviewed E.P., who
is the petitioner for FRAUDULENT PETITION 6. E.P. stated that he knew
P.B. and S.B. and worked for them as a landscaper from about 2010 to 2016.
E.P. reviewed the documents in FRAUDULENT PETTION 6 and stated he

was not the manager and never signed the Immigrant petition. E.P. asserted

23
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 25 of 27 PagelD 25

that his name and social security number on the IRS Form W-2 were correct,
but his earnings were inaccurate. E.P. also reviewed Federal Quarterly Tax
reports with his signature and stated the signature was a forgery as he did not
sign the Federal Quarterly Tax reports. E.P. also stated that he never
authorized his name and social security number to be used as the petitioner,
manager or on the federal tax forms.

55. On May 14, 2019, members of the DBFTF interviewed D.J.,
who is listed as an employee in FRAUDULENT PETITION 6. D.J. stated
he never worked for nor heard of B.S.E. LLC. D.J. also did not know owner
P.B. nor the petitioner, E.P. D.J. reviewed the IRS Form W-2 containing his
name and a social security number, attached to FRAUDULENT PETITION
6, and confirmed that the information was correct. However, he never worked
for B.S.E. and never authorized anyone to use his name and social security
number.

EXECUTION OF A SEARCH WARRANT

 

56. On June 12, 2019, members of the DBFTF executed a federal
search warrant at FAREY’s residence, located at xxxx Big Valley Boulevard,

Kissimmee, Florida 34746. During the execution of the search warrant,

24
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 26 of 27 PagelD 26

agents found business documents related to FRAUDULENT PETITONS 3,
5, and 6.
CARL FAREY INTERVIEW

57. On June 12, 2019, FAREY was interviewed after advisement of
his constitutional rights, FAREY stated that he does “a number of different
things,” which included helping people “do their paperwork for their
immigration papers” and other services. FAREY stated that he prepared E-2
and L-1 packages but had not done an L-1 package in years. When asked
about how much FAREY charges to prepare an E-2 visa package, FAREY
stated that he is more of a business consultant and that he charges “normally
from anything from $3,000 to $5,000, but that would be over a period of
time.” When confronted with the repetitive use of specific identities and
identifying information in the supporting documents attached to the petitions,
FAREY stated that the local British community is “small,” shifting blame
onto the beneficiaries.

CONCLUSION

58. Based on the forgoing, I submit that this affidavit supports

probable cause to charge CARL STUART FAREY with violating 18 U.S.C.

§§ 1546 and 2 (aiding and abetting fraud and misuse of visas, permits and

25
Case 6:20-cr-00034-CEM-EJK Document1 Filed 01/17/20 Page 27 of 27 PagelD 27

other documents), specifically relating to FRAUDULENT PETITION 5
received by USCIS on June 15, 2017.

59. This concludes my affidavit.

 

he ge

Curtis Johnson, Special Agent
Homeland Securi vestigations

U.S. Department of Homeland Security

Subscribed and sworn to before me

this_/'F —*day of Saauarg,2020.

USD

The Honorable Thomas B. Smith
United States Magistrate Judge

26
